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"EXHIBIT

UNITED STATES DISTRICT COURT
DISTRICT OF VERMONT

MISTY BLANCHETTE PORTER, M.D.

Vv.

Docket No. 5:17-cv-194

DARTMOUTH-HITCHCOCK MEDICAL CENTER, et al.

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Exhibit 6 Leslie DeMars, 10/23/19, Dep. Pgs. 43, 70-71, 111-112, 127
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Exhibit 22

Plaintiff's Response to Defendant DHMC’s First Set of Interrogatories

